Case 1:17-cr-00101-LEK Document 398 Filed 12/17/18 Page 1 of 2   PageID #: 3617




   LARS ROBERT ISAACSON
   Hawaii Bar #5314
   1100 Alakea Street, 20th Floor
   Honolulu, Hawai’i 96813
   Phone: 808-497-3811
   Fax: 866-616-2132
   Standby Attorney for Defendant ANTHONY T. WILLIAMS

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       MOTION FOR RETURN OF
          Plaintiff,                   PROPERTY; DECLARATION
                                       OF COUNSEL; EXHIBIT “A;”
         v.                            CERTIFICATE OF SERVICE


   ANTHONY T. WILLIAMS,

          Defendant.


                 MOTION FOR RETURN OF PROPERTY

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   moves this Court to return his property as described in Exhibit

   “A” attached to this document.
Case 1:17-cr-00101-LEK Document 398 Filed 12/17/18 Page 2 of 2   PageID #: 3618




   This motion is based on the declaration of counsel and Exhibit “A”

   attached to this document.

      Dated: December 17, 2018

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
